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                                                    *E-FILED 03-12-2010*
 1
                               UNITED STATES DISTRICT COURT,
 2                           NORTHERN DISTRICT OF CALIFORNIA,
                                  SAN FRANCISCO DIVISION
 3

 4   MARTHA TOLEDO,                    ) Case No.: 5:09-cv-03318 HRL
                                       )
 5              Plaintiff,             ) XXXXXXXXXX
          v.                           ) [PROPOSED]
                                         DISMISSAL
                                                        ORDER OF
                                                       WITH   PREJUDICE
 6                                     )
     FINANCIAL RECOVERY SERVICES, INC. )
 7                                     )
                Defendant.             )
 8                                     )
                                       )
 9

10

11          Based upon the Stipulation to Dismiss by all appearing parties and pursuant to
12
     Fed. R. Civ. P. 41(a)(1), the above reference matter is hereby dismissed with
13
     prejudice.
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     IT IS SO ORDERED.
16

17   Dated: March 12, 2010
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19                                      Howard L. Lloyd
                                        United States Magistrate Judge
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     _______________________________________________________________________________________________
                                            [Proposed] Order
                                            xxxxxxxxx
